                EXHIBIT 3
                   Declaration of Scott Williams




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                             IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         SOUTHERN DIVISION
                                            No. 7:23-CV-897



 IN RE:                                            )
                                                   )
 CAMP LEJEUNE WATER LITIGATION                     )
                                                   )
 This Document Relates to:                         )
 ALL CASES                                         )




                          DECLARATION OF SCOTT WILLIAMS

   1. I, Scott Williams, make the following declaration in lieu of an affidavit as permitted by

28 U.S.C. § 1746. I am aware that this declaration will be filed with the United States District

Court for the Eastern District of North Carolina, and that it is the legal equivalent of a statement

under oath.

   2. I am currently an employee of the United States Marine Corps (USMC) serving as the

Environmental Program Manager for Marine Corps Installations East. I have been serving in

this capacity since March 2021.

   3. Prior to my current position I worked for the Marine Corps as an environmental

professional for Headquarters Marine Corps (HQMC) from September 2008 until March

2021.

   4. While working at HQMC I was significantly involved in the 2013-2015 Marine Corps

muster roll and unit diary digitization effort. I represented HQMC Environmental in numerous

meetings related to the planning and execution of the effort. I participated in meetings that




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included representatives from Marine Corps Manpower and Reserve Affairs, Marine Corps

History Division, National Archives and Records Administration, Department of Veterans

Affairs (VA), and the Agency for Toxic Substances and Disease Registry (ATSDR), etc.

   5. The resultant system of digitized muster rolls and unit diary information (referred to

herein as “the system”) was referred to by different names by different people over the years.

For example, the system was sometimes referred to as the “SAN” which may have been a

reference to the system’s IT configuration. i.e. Storage Area Network (SAN). Similarly, the

system has sometimes been referred to as the “NAS”. i.e. Network Attached Storage (NAS).

I also recall the system being sometimes referred to as “PaperVision” which was the

proprietary software used to access the digitized information. None of these names

sufficiently describe the system or the types of records contained within the system.

   6. To the best of my recollection, in an effort to better describe the records contained

within the system, I personally came up with the phrase “Marine Corps Unit Diary Database”

(“MUDD”) to describe the contents of the system of digitized Marine Corps unit diary and

muster roll records located at Marine Corps Base Quantico, Virginia.

   7. It is highly likely that the MUDD acronym and associated descriptive information

included in Dr. Hasting’s (VA) Advisory Committee on Disability Compensation

PowerPoint presentation (See D.E. 193-1 at 5) originated from myself.

   8. As far as I am aware, Dr. Hastings nor any other entity outside the USMC has had

direct access to the system. However, both the VA and ATSDR in the past were offered the

opportunity to access the system at Marine Corps Base Quantico.

   9. I am confident that the 2013-2015 Marine Corps muster roll and unit diary digitization

effort that resulted in the system, the Marine Corps muster roll digitization effort mentioned




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in the 2014 and 2015 Department of Veteran Affairs/Department of Defense Joint Executive

Committee Annual Report (See D.E. 141-3 at 9-10; D.E. 141-4 at 13), and the MUDD

mentioned in the VA Advisory Committee on Disability Compensation PowerPoint

presentation (See D.E. 193-1 at 5) are in fact the same effort and/or product. Further, the

resultant system is the only version that has ever existed and sometimes may have been

referred to as the “SAN”, “NAS”, “PaperVision”, “MUDD”, etc.



  I declare under penalty of perjury that the foregoing is true and correct.


                           Digitally signed by
  WILLIAMS.SCOTT WILLIAMS.SCOTT.REID.122977
  .REID.1229778028 8028
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